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                                                                                            U.S. Department of Justice

                                                                                            United States Attorney

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                                                                 Reply to: Charleston


April 20, 2025

VIA ECF FILING
Hon. Richard M. Gergel
United States District Judge

Re: The Sustainability Institute, et al. v. Donald J. Trump, et al, 2:25-cv-2152-RMG

Dear Judge Gergel:

         On April 7, 2025, the Court issued its Order granting Plaintiff’s motion for expedited discovery

allowing Plaintiffs to receive a response from four federal agencies (DOE, DOT, USDA, and EPA) to

one request each for the production of documents related to the above referenced action. ECF No. 45.

The documents were to be produced by 5:00 p.m. on April 17, 2025.

         On April 17, 2025, DOE, DOT, and USDA complied with the Order. On April 17, 2025,

Defendants sought a 1-day extension to provide responsive documents from EPA, which was granted

on April 18, 2025. ECF No. 73.

         On April 18, 2025, the U.S. Attorney’s Office computer system began to crash as the large EPA

document production of 584 documents were being converted to the proper formatting for ECF filing

of the documents. From approximately 4:56 p.m. to 8:23 p.m. ECF document filings on behalf of EPA

began with the filing of ECF Nos. 79-91, which covered 99 filed documents. At that point during the

ECF filings, the U.S. Attorney’s Office realized that the 584 documents produced by EPA included

extremely large Excel spreadsheets converted to pdf format that became unmanageable for ECF filing
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purposes, as well as unusable by the Court or the parties.

       The U.S. Attorney’s Office, along with EPA, spent April 18-April 20, trying to work out a

solution to the document production problem that prevented the ECF filing on April 18. Defendant EPA

determined that the 584 documents, consisting of 130,356 pages of non-privileged documents, require

a complete refiling in ECF, removing the 194 Excel spreadsheets from the ECF filing and, instead,

producing the spreadsheets in their native format. Defendant EPA will provide those 194 Excel

spreadsheets to the Court on a flash drive and provide those documents to Plaintiffs by way of a flash

drive or file share, whichever they deem preferable.

       As for the 2,092 privileged EPA documents submitted to the Court in camera on April 17, 2025,

155 of those documents are Excel spreadsheets that were converted to pdf. As above, we have

determined that those Excel spreadsheets are largely unusable in pdf format. Defendant EPA will

provide to the Court a new flash drive with those 155 spreadsheets in native format.

       Defendant EPA has indicated that it will make every effort to get the documents to the United

States Attorney’s Office in time for counsel to accomplish these tasks by 5:00 p.m. on April 21, 2025.



                                                       Respectfully submitted,

                                                       BROOK B. ANDREWS
                                                       ACTING UNITED STATES ATTORNEY

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April 20, 2025
